                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN,

               Plaintiffs,

v.                                                                   Case No. 16-CV-00534

PAUL FELICIAN,
PHIL SIMMERT II,
JANE AND JOHN DOE(S)
CITY OF MILWAUKEE, and
ABC INSURANCE COMPANY,

            Defendants.
______________________________________________________________________________

                      DECLARATION OF PAUL FELICIAN
______________________________________________________________________________

       I, Paul Felician, hereby declare as follows:

       1.      I was employed with the City of Milwaukee, Milwaukee Police Department from

April 12, 1993 until I retired on April 16, 2019. I retired with the rank of Police Captain. In 2010

I was a Police Lieutenant assigned to the Sensitive Crimes Division. I submit this Declaration

based upon personal knowledge.

       2.      At the time of the execution of the May 2010 warrants at the four properties at

issue in the above-referenced lawsuit: 2323 South 13th Street, Milwaukee, Wisconsin, 3443

South 17th Street, Milwaukee, Wisconsin, 3448 South Kinnickinnic Avenue, Milwaukee,

Wisconsin, or 3401 South 16th Street, Milwaukee, Wisconsin, the Milwaukee Police Department

(“MPD”) General Order No. 2005-13, Standard Operating Procedure (SOP) entitled, “3/560

Property” was in place. I was aware of SOP 3/560 Property at the time of the execution of the




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May 2010 warrants. A true and correct copy of MPD General Order No. 2005-13, SOP entitled,

“3/560 Property” is attached as Exhibit 1.

         3.       SOP 3/560 Property, 3/560.03 Officer/Detective Responsibilities Item C states in

part, “Personal property…is subject to seizure and forfeiture under Wis. Stat. § 973.075 through

973.077…”

         4.       At the time of the execution of the May 2010 warrants, MPD General Order No.

2005-07, SOP entitled, “3/970 Confidential Informants/Search Warrants” was in place. I was

aware of SOP 3/970 Confidential Informants/Search Warrants at the time of the execution of the

May 2010 warrants. A true and correct copy of MPD General Order No. 2005-07, SOP entitled,

“3/970 Confidential Informants/Search Warrants” is attached as Exhibit 2.

         4.       The MPD is not the agency responsible for boarding up properties after warrant

execution or a determination by the City of Milwaukee Department of Neighborhood Services

that a property is uninhabitable.

         I declare under penalty of perjury that the foregoing paragraphs are true and correct.

         Dated and signed at Milwaukee, Wisconsin this 1st day of October, 2020.



                                               s/Paul Felician________________________
                                               PAUL FELICIAN

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